74 F.3d 1232NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Christine Sandra MCLENDON, Plaintiff-Appellant,v.STATE of Maryland;  Labor Industry;  Denis Pellitier;Manpower, Inc., Defendants-Appellees.
    No. 95-2535.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 11, 1996.Decided:  January 23, 1996.
    
      Christine Sandra McLendon, Appellant Pro Se.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order (1) amending her Complaint to add two Defendants and allowing her twenty days to complete the necessary form in order to effect service on one of those Defendants, and (2) denying her motion for reconsideration.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    